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               EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-24066-CIV-ALTONAGA/Reid

   ALAN GUERECA,

          Plaintiff,
   v.

   MOTORSPORT.TV DIGITAL, LLC,

         Defendant.
   __________________________________/

                                                  ORDER

          THIS CAUSE came before the Court upon Defendant, Motorsport.tv Digital, LLC’s

   Motion to Dismiss [or, Alternatively,] to Strike Class Allegations [ECF No. 12], filed on January

   6, 2025. The Motion carries several attachments. (See id., Decl. of [Def.’s Content Dir.] Rainier

   Ehrhardt (“Ehrhardt Decl.”) [ECF No. 12-1] 1–5; id., Ex. A, Def.’s Terms of Service [ECF No.

   12-1] 6–17; id., Ex. B, Def.’s Privacy Policy [ECF No. 12-1] 18–26; id., Ex. C, Screenshot of

   Def.’s “Create Your Account” Page [ECF No. 12-1] 27–28). 1 Plaintiff, Alan Guereca filed an

   Opposition (“Response”) [ECF No. 20]; to which Defendant filed a Memorandum in Response

   (“Reply”) [ECF No. 21]. The Court has carefully considered the Complaint [ECF No. 1], the

   parties’ written submissions, and applicable law. For the following reasons, the Motion is denied.

                                           I. BACKGROUND

          Defendant, a Florida-based digital media company, offers pre-recorded video content to

   consumers across the United States through subscription and on-demand streaming. (See Compl.

   ¶¶ 14–15). Plaintiff, a Georgia resident, purchased a subscription from Defendant in June 2023 to


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   access its video content and, in turn, viewed multiple on-demand videos. (See id. ¶¶ 7, 9–10).

   Plaintiff brings this putative class action under the Video Privacy Protection Act (“VPPA”), 18

   U.S.C. section 2710, asserting that Defendant knowingly disclosed the identities, subscriptions,

   and video viewing histories of its customers — including Plaintiff’s — to Meta Platforms, Inc.

   (“Meta”), formerly known as Facebook, Inc., without their knowledge or consent. (See id. ¶ 1).

          Plaintiff alleges Defendant embedded “Meta Pixel” tracking technology on its website,

   systematically transmitting personally identifiable subscription and viewing data to Meta. (See id.

   ¶ 2). Specifically, Defendant shared customers’ Facebook IDs (“FIDs”), subscription details, and

   the titles of the videos they accessed on Defendant’s website. (See id. ¶ 3). An FID is a unique

   sequence of numbers tied to a user’s Meta profile, which in turn displays their names and other

   personal details, allowing Meta to associate a person’s viewing history with their real-world

   identity. (See id.). Through the Meta Pixel tracking mechanism, Defendant captured and disclosed

   to Meta the specific videos a user watched — referred to as “Private Viewing Information.” (Id.).

          According to Plaintiff, Defendant failed to ask for or obtain its customers’ consent before

   transmitting this data to Meta. (See id. ¶ 4). Such a practice violates the VPPA, which provides

   that, absent a customer’s informed, written consent, “any ‘video tape service provider who

   knowingly discloses, to any person, personally identifiable information concerning any consumer

   of such provider shall be liable to the aggrieved person for’” liquidated damages and equitable

   relief. (Id. ¶ 5 (quoting 18 U.S.C. § 2710(b)(1))). In other words, the VPPA prohibits companies

   like Defendant from knowingly sharing consumers’ viewing histories with third parties — such as

   Meta — when that information can be used to personally identify consumers like Plaintiff and the

   specific audio-visual products or services they accessed. (See id. ¶ 18).




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          Plaintiff has suffered injury from this practice. In the two years before filing this action,

   he obtained pre-recorded videos from Defendant; each time, Defendant disclosed to Meta his FID,

   the title of the video requested and obtained, the URL where he requested access to and obtained

   the video, and the device Plaintiff used to obtain each video. (See id. ¶ 10). Plaintiff had a Meta

   account, a Meta profile, and an FID associated with his profile. (See id. ¶ 11). He never consented,

   agreed, authorized, or permitted Defendant to disclose subscription or Private Viewing

   Information to Meta. (See id. ¶ 12). By its disclosures to Meta, Defendant violated Plaintiff’s

   rights under the VPPA and invaded his interest in keeping such information private. (See id. ¶ 13).

          To be clear, Defendant knowingly uses the Meta Pixel to transmit all subscribers’ Private

   Viewing Information — not just Plaintiff’s — to Meta. (See id.). Each time a user purchases a

   subscription or otherwise accesses a video on Defendant’s website, Defendant shares his or her

   unencrypted FID and viewing details with Meta, including the titles of video products the user

   requested. (See id. ¶ 50). Defendant intentionally programs its website to ensure this automatic

   data transfer — all to leverage Meta’s advertising, analytics, and marketing tools. (See id. ¶ 51).

   Despite knowing this information is disclosed, Defendant fails to notify users — including Plaintiff

   and putative class members — obtain their consent, or allow them to opt out. (See id. ¶¶ 54, 56).

          Plaintiff contends Defendant violated his statutory right to privacy and invaded his legally

   protected interest in keeping his viewing habits confidential. (See id. ¶¶ 64–74). Thus, Plaintiff

   requests the Court certify a class under Federal Rule of Civil Procedure 23 and name him class

   representative; declare that Defendant’s conduct violates the VPPA; award Plaintiff and class

   members $2,500.00 for each violation of the VPPA, as allowed under 18 U.S.C. section

   2710(c)(2)(A); enter injunctive relief; and award punitive damages and attorney’s fees and costs

   under Rule 23 and 18 U.S.C. section 2710(c). (See id. 19). In response, Defendant seeks dismissal



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   of the Complaint for failure to state a claim for relief under Federal Rule of Civil Procedure

   12(b)(6), and alternatively, an order striking Plaintiff’s class allegations. (See generally Mot.).

   The Court takes up the issues raised in the parties’ briefing below.

                                       II. LEGAL STANDARDS

          A. Motion to Dismiss

          “To survive a motion to dismiss [under Federal Rule of Civil Procedure 12(b)(6)], a

   complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (alteration added; quoting Bell

   Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although this pleading standard “does not

   require ‘detailed factual allegations,’ . . . it demands more than an unadorned, the-defendant-

   unlawfully-harmed-me accusation.” Id. (alteration added; quoting Twombly, 550 U.S. at 555).

   Pleadings must contain “more than labels and conclusions, and a formulaic recitation of the

   elements of a cause of action will not do[.]” Twombly, 550 U.S. at 555 (alteration added; citation

   omitted). “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”

   Iqbal, 556 U.S. at 679 (alteration added; citing Twombly, 550 U.S. at 556).

          To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

   the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

   Id. at 678 (alteration added; citing Twombly, 550 U.S. at 556). “The mere possibility the defendant

   acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co.,

   578 F.3d 1252, 1261 (11th Cir. 2009) (citing Iqbal, 556 U.S. at 678), abrogated on other grounds

   by Mohamad v. Palestinian Auth., 566 U.S. 449 (2012). When considering a motion to dismiss, a

   court must construe the complaint “in a light most favorable to the plaintiff” and take its factual




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   allegations as true. Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th

   Cir. 1997) (citation omitted).

          On a motion to dismiss under Rule 12(b)(6), the Court’s review is generally limited to the

   complaint itself, including any documents attached to or incorporated within it. See Bickley v.

   Caremark RX, Inc., 461 F.3d 1325, 1329 n.7 (11th Cir. 2006). A document outside the four corners

   of the complaint may be considered when it is central to the plaintiff’s claim and its authenticity

   is undisputed. See Maxcess, Inc. v. Lucent Techs., Inc., 433 F.3d 1337, 1340 n.3 (11th Cir. 2005)

   (citation omitted).

          B. Motion to Strike Class Allegations

          Federal Rule of Civil Procedure 23 governs the certification of class actions. “For a class

   to be certified, the named plaintiff must have standing[,] and the putative class must satisfy both

   the requirements of [ ] Rule [ ] 23(a) and the requirements found in one of the subsections of Rule

   23(b).” Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1267 (11th Cir. 2019) (alterations added;

   citation and footnote call numbers omitted). Under Rule 23(a), every class must meet the

   requirements of numerosity, commonality, typicality, and adequacy of representation. See id. at

   1266. A court must also find “that the questions of law or fact common to class members

   predominate over any questions affecting only individual members, and that a class action is

   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

   R. Civ. P. 12(b)(3).

          Admittedly, courts may strike class allegations based on pleadings alone when it is evident

   from the face of a complaint that a plaintiff can plead no set of facts that would allow class

   certification. See Williams v. Wells Fargo Bank N.A., No. 11-21233-Civ, 2011 WL 4368980, at

   *11 (S.D. Fla. Sept. 19, 2011); Romano v. Motorola, Inc., No. 07-60517-Civ, 2007 WL 4199781,



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   at *2 (S.D. Fla. Nov. 26, 2007). But, “it is rare for courts to strike or dismiss class allegations

   prior to the filing of class certification motions and discovery[,]” Lankford v. Carnival Corp., No.

   12-24408-Civ, 2013 WL 12064497, at *6 (S.D. Fla. June 18, 2013) (alteration added; citations and

   quotation marks omitted), because “[class] determination usually should be predicated on more

   information than the complaint itself affords[,]” Herrera v. JFK Med. Ctr. Ltd. P’ship, 648 F.

   App’x 930, 934 (11th Cir. 2016) (alterations added; citation, footnote call number, and quotation

   marks omitted).

                                               III. DISCUSSION

          A. Motion to Dismiss

          Defendant asserts that the Complaint’s single VPPA claim should be dismissed because:

   (1) Plaintiff fails to plead sufficient facts that Defendant installed the Meta Pixel on its website or

   that his interactions with the platform were transmitted to Meta; (2) a Facebook ID is not a personal

   identifier, and Plaintiff does not allege that his Meta profile contained personal information; and

   (3) Plaintiff consented to the alleged disclosures through a clickwrap agreement and never

   withdrew his consent. (See Mot. 8–18).

                  1. Absence of allegations that Defendant implemented the Meta Pixel or that
                  Plaintiff’s information was transmitted to Meta

          Defendant first argues that Plaintiff fails to allege Defendant implemented the Meta Pixel

   or that data from his website interactions were transmitted to Meta. (See id. 9; Reply 6–8).

   Defendant further criticizes the pleading for lacking specifics — such as the name of the video

   allegedly shared, the type of device or web browser Plaintiff used, the timing of the disclosure, or

   how Plaintiff discovered the data transfer. (See Mot. 9). According to Defendant, Plaintiff’s claim

   amounts to nothing more than labels and conclusory assertions, which are not entitled to the

   presumption of truth. (See Reply 6 (citations omitted)).

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          This argument is, frankly, difficult to take seriously because Plaintiff clearly alleges the

   very facts Defendant asserts are missing, and the additional details Defendant demands are not

   required to state a VPPA claim. The statute requires Plaintiff to plead only that: “(1) a defendant

   is a video tape service provider, (2) the defendant disclosed personally identifiable information

   concerning any customer to any person, (3) the disclosure was made knowingly, and (4) the

   disclosure was not authorized by section 2710(b)(2).” Mollett v. Netflix, Inc., 795 F.3d 1062, 1066

   (9th Cir. 2015) (quotation marks omitted; quoting 18 U.S.C. § 2710(b)(1)). Plaintiff satisfies these

   elements by alleging that Defendant knowingly disclosed its consumers’ personally identifiable

   information (PII) — including his own — to Meta via the Meta Pixel, and, further, that the

   disclosure was not authorized by section 2710(b)(2). (See Compl. ¶¶ 2–3, 10–13).

          There is no heightened pleading requirement for VPPA claims, nor are Plaintiff’s

   allegations conclusory. Moreover, Defendant cites to no authority requiring Plaintiff to specify

   the exact video titles, device details, timing, or investigative methods used to discover the

   disclosures, in order to state a VPPA claim. (See generally Mot.). Defendant’s insistence on this

   information is an attempt to impose a stricter standard than the law demands.

                  2. Whether a Facebook ID is a personal identifier and whether Plaintiff pleads
                  that his Meta profile contained personal information

          The VPPA prohibits a video service provider from disclosing, without authorization, a

   consumer’s PII or “‘information which identifies a person as having requested or obtained specific

   video materials or services from a video tape service provider.’” (Mot. 9 (quoting 18 U.S.C. §

   2710(a)(3))). Defendant argues an FID alone does not qualify as PII under the VPPA, asserting

   that Plaintiff’s claim is “unfounded” because an FID is merely a random sequence of numbers

   linked to a Meta profile and, on its own, does not reveal personal details. (Id.; see also id. 10

   (noting most courts have “held that ‘static digital identifiers that could, in theory, be combined

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   with other information to identify a person do not count as ‘personally identifiable information’

   [under the VPPA], at least by themselves’” (alteration added; emphasis and footnote call number

   omitted; quoting In re Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 283 (3d Cir. 2016)))).

          Again, Plaintiff does allege that Defendant disclosed users’ FIDs alongside the URLs and

   titles of videos they accessed on its website — a combination that, viewed together, constitutes PII

   under the VPPA. (See Compl. ¶¶ 10, 13, 49–57). According to Plaintiff, Meta indexes FIDs to a

   user’s personal account, which includes the individual’s name, birth date, gender, and contact

   details, making it possible to match an FID to an identifiable person. (See id. ¶¶ 3, 43).

          While Defendant relies on the narrower interpretation of PII favored by the Third and Ninth

   Circuits, see, e.g., Eichenberger v. ESPN, Inc., 876 F.3d 979, 985 (9th Cir. 2017) (noting PII in

   the context of the VPPA encompasses “only information that readily permits an ordinary person

   to identify a particular individual as having watched certain videos.” (alterations adopted;

   emphasis omitted; quoting Nickelodeon Consumer Privacy Litig., 827 F.3d at 290)), Plaintiff’s

   allegations satisfy the First Circuit’s less stringent standard, see, e.g., Yershov v. Gannett Satellite

   Info. Network, Inc., 820 F.3d 482, 486 (1st Cir. 2016) (holding that PII in the context of the VPPA

   includes “information reasonably and foreseeably likely to reveal which . . . videos [a person] has

   obtained.” (alterations added)). Under this more inclusive standard, the Complaint sufficiently

   pleads that Defendant disclosed PII.

          Other courts have recognized that disclosing an FID alone is not what triggers VPPA

   liability — it is its combination with viewing history that matters. Indeed, as the court in Harris

   v. Public Broadcasting Service, 662 F. Supp. 3d 1327, 1334 (N.D. Ga. 2023), explained:

          Under the VPPA, [PII] is “information which identifies a person as having
          requested or obtained specific video materials or services from a video tape service
          provider.” 18 U.S.C. § 2710(a)(3). So, it is not Plaintiff’s FID — contained in the



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           cookie — that establishes liability under the VPPA. Rather, it is the bundling of
           the FID . . . with the URLs of the videos Plaintiff watched that matters.

   Id. (alterations added; citations omitted; emphasis in original); see also Lebakken v. WebMD, LLC,

   640 F. Supp. 3d 1335, 1342 (N.D. Ga. 2022) (finding that plaintiff “adequately alleged that

   WebMD disclosed her [FID] and email address in connection with her video viewing information

   to Facebook and that the disclosure of such information constituted a disclosure of PII” (alteration

   added)); cf. Nickelodeon Consumer Priv. Litig., 827 F.3d 262 (acknowledging that the meaning of

   the phrase “‘personally identifiable information’ is not straightforward[]” (id. at 284 (alteration

   added)) and aligning itself with courts taking a narrower understanding of the term, while

   acknowledging that “even a numeric identifier might qualify as personally identifiable

   information, at least in certain circumstances” (id. at 289 n.174)). Plaintiff alleges exactly that.

           Plaintiff further alleges that an ordinary person 2 can identify a user by entering the FID

   into a web browser (see Compl. ¶¶ 3, 52), which retrieves the user’s Meta profile and its associated

   personal information — thus satisfying the requirement that disclosed information be capable of

   use by an ordinary person to identify an individual. See, e.g., Martinez v. D2C, LLC, No. 23-

   21394-Civ, 2023 WL 6587308, at *4 (S.D. Fla. Oct. 10, 2023) (“Assuming the ‘ordinary person’

   standard applies . . . , the proposed amended complaint’s allegations [are] sufficient: ‘The [FID] is

   a unique identifier that is enough, on its own, to identify a person.’” (alterations added; citations

   omitted)). According to Plaintiff, an ordinary person can easily identify him from his FID by

   navigating to Plaintiff’s page and viewing his Meta Profile, which identifies him by name and

   contains other PII about him. (See Compl. ¶ 4); see also Jackson v. Fandom, Inc., No. 22-cv-

   04423, 2023 WL 4670285, at *4 (N.D. Cal. July 20, 2023) (finding that PII under the VPPA was



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    Plaintiff acknowledges the Third and Ninth Circuits have adopted the “ordinary person” standard, but the
   Eleventh Circuit has not yet done so. (See Resp. 8 n.2 (citations omitted)).
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   sufficiently alleged where the plaintiff asserted that a “Facebook profile may contain the user’s

   name, gender, birthday, place of residence, career, educational history, a multitude of photos, and

   the content of a Facebook user’s posts” (citation and quotation marks omitted)).

            Defendant’s continued criticism that Plaintiff must specifically allege that his specific Meta

   profile contained his name, birth date, gender and other personal details is premised on the stricter

   Third and Ninth Circuit views. (See Reply 9–10 (citations omitted)). Again, the First Circuit’s

   described minority view does not require such allegations for a plaintiff to state a plausible VPPA

   claim. See Yershov, 820 F.3d at 486. Given the absence of binding Eleventh Circuit precedent,

   the Court may look to non-binding decisions from other courts for guidance. See, e.g., Buckner v.

   Penn. Life Ins. Co., No. 09-cv-614, 2009 WL 10703163, at *3 (N.D. Ala. May 14, 2009). Since

   Plaintiff’s allegations meet the broader First Circuit standard, Plaintiff states a plausible VPPA

   claim.

                    3. Defendant’s Consent Defense

            Under the VPPA, a videotape service provider may disclose PII only with the consumer’s

   “informed, written consent[.]” 18 U.S.C. § 2710(b)(2)(B) (alteration added). To be valid, the

   consent must satisfy three elements. First, it must be “in a form distinct and separate from any

   form setting forth other legal or financial obligations of the consumer[.]” Id. § 2710(b)(2)(B)(i)

   (alteration added). Second, the consent, “at the election of the consumer[,]” must be “given at the

   time the disclosure is sought[,] or “in advance for a set period of time, not to exceed 2 years or

   until consent is withdrawn by the consumer, whichever is sooner[.]” Id. §§ 2710(b)(2)(B)(ii)(I),

   (II) (alterations added). Finally, the “video tape service provider [must] provide[] an opportunity,

   in a clear and conspicuous manner, for the consumer to withdraw on a case-by-case basis or to

   withdraw from ongoing disclosures[.]” Id. § 2710(b)(2)(B)(iii) (alterations added).



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          Defendant insists Plaintiff “provided Consent under 18 U.S.C. [section] 2719(b)(2)(B) to

   the alleged conduct[,]” and so the Complaint “must be dismissed.” (Mot. 13 (alterations added)).

   According to Defendant, all three VPPA consent prongs are satisfied. (See generally id.). Its

   argument relies on the documents attached to its Motion and proceeds as follows.

          First, Defendant argues that Plaintiff expressly consented to the alleged disclosures by

   agreeing to its Privacy Policy via a clickwrap agreement. (See id. 14–15). Citing the Ehrhardt

   Declaration, Defendant asserts that when Plaintiff purchased a subscription in June 2023, he

   manually checked a box confirming acceptance of Defendant’s Terms of Service and Privacy

   Policy. (See id. 14 (citing Ehrhardt Decl. ¶ 6)). Defendant relies on this attachment and its Privacy

   Policy — neither of which is referenced or incorporated in the Complaint — to argue that Plaintiff

   entered a binding clickwrap agreement. (See id. 14–15 (citing Ehrhardt Decl. ¶ 6; Def.’s Privacy

   Policy)). By these actions, Defendant asserts, Plaintiff provided statutory consent under the VPPA,

   18 U.S.C. section 2710(b)(2)(B); permitting Defendant to collect, process, store, share, and sell

   data related to Plaintiff’s interaction with its website and content. (See id. 12–13).

          Next, Defendant contends Plaintiff never withdrew his consent, and his consent did not

   lapse by operation of law. (See id. 15). Because the VPPA permits consent to remain valid for up

   to two years, Defendant argues Plaintiff’s agreement would not expire until June 2025. (See id.

   15 (citing 18 U.S.C. § 2710(b)(2)(B)(i)(II))). Defendant also states Plaintiff neither revoked his

   consent nor opted out of the Privacy Policy. (See id. 16 (citing 18 U.S.C. § 2710(b)(2)(B)(i)(II))).

          Third, Defendant insists its Privacy Policy clearly outlined how Plaintiff could withdraw

   his consent, arguing that its instructions were “clear and conspicuous” as required under the VPPA.

   (Id. 16 (citing 18 U.S.C. § 2710(b)(2)(B)(iii)); see also id. 16–18). To support this claim,

   Defendant quotes extensively from its exhibits, including its Terms of Service and the Ehrhardt



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   Declaration. (See id. 17). For the first time in its Reply, Defendant asks the Court to take judicial

   notice of its Terms of Service and Privacy Policy under Federal Rule of Evidence 201(b), asserting

   these publicly available documents authorize it to collect, process, store, share, and sell user data.

   (See id.; Reply 10–13 (citing cases)). Defendant explains that by clicking “continue,” Plaintiff

   consented to its Terms and Privacy Policy — whether through a traditional clickwrap agreement

   or, as Plaintiff characterizes it, a sign-in wrap agreement. (See Reply 11–13). Consequently,

   Defendant claims that it satisfies the VPPA’s consent requirements for permissible disclosure of

   PII, and the VPPA claim fails. (See Mot. 13 (citing 18 U.S.C. § 2710(b)(2)(B))).

          While consent is a recognized affirmative defense to a VPPA claim, it must clearly appear

   on the face of the complaint to justify dismissal under Rule 12(b)(6). See Feldman v. Star Trib.

   Media Co. LLC, 659 F. Supp. 3d 1006, 1023 (D. Minn. 2023) (citation omitted). Nowhere does

   Plaintiff’s Complaint reference Defendant’s Privacy Policy, nor does Plaintiff’s claim depend on

   or otherwise incorporate it by reference. (See Resp. 11). To the contrary, Plaintiff affirmatively

   states Defendant never provided written notice it was disclosing its customers’ subscription data

   and Private Viewing Information to third parties like Meta. (See Compl. ¶ 12). As Plaintiff aptly

   puts it, “Defendant would have the Court simply ignore . . . the Complaint’s well pled allegations,

   wholly credit Defendant’s assertion that Plaintiff did in fact consent to the disclosure of his PII to

   Meta, and dismiss the case without discovery into the facts.” (Resp. 13 (alteration added)); see

   also, e.g., Adams v. America’s Test Kitchen, LP, 680 F. Supp. 3d 31, 43–44 (D. Mass 2023)

   (“Defendants rely on their Privacy Policy to argue that [plaintiff] consented to disclosure, stating

   that it is properly before the Court . . . . [A] close reading of the complaint reveals no reference to

   Defendants’ privacy policies. Therefore, the Privacy Policy is not properly before the Court, and

   Defendants’ argument regarding consent fails at this stage.” (alterations added; citations omitted)).



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          Even if the Court were to consider Defendant’s exhibits, critical factual gaps remain.

   Plaintiff points out that Defendant has not established which version of the website he encountered,

   when he registered his Motorsport.tv account, whether he used a desktop or mobile device, or if

   the Screenshot provided even reflects what Plaintiff saw at the time. (See Resp. 16). Defendant’s

   claim that the agreement was “‘substantially similar’” to what Plaintiff encountered when he

   registered his account is insufficient to establish a consent-based affirmative defense — which

   Defendant has the burden to prove — at this stage. (Id. 16; see also id. 17). The remaining issues,

   including the validity of Defendant’s clickwrap or sign-in wrap agreement and whether its Privacy

   Policy meets the VPPA’s consent requirements, are fact-intensive inquiries that cannot be resolved

   on a Rule 12(b)(6) motion. See, e.g., Farber v. City of Hollywood, No. 20-60756-Civ, 2021 WL

   3604858, at *3 (S.D. Fla. July 28, 2021) (“Such fact intensive inquiries are simply not proper to

   resolve at the Motion to Dismiss stage.”), report and recommendation adopted sub nom. Farber

   v. City of Hollywood, No. 20-60756-Civ, 2021 WL 3603364 (S.D. Fla. Aug. 13, 2021).

          B. Motion to Strike Class Allegations

          In the event the Court does not dismiss the Complaint, Defendant argues that “this” Court

   has recently held a class cannot be certified in the context of VPPA litigation, so Plaintiff’s class

   allegations should be stricken. (Mot. 19 (citing Martinez, 2024 WL 4367406, at *1); see also id.

   18–21). That assertion mischaracterizes the Court’s precedent. “This” Court has not recently

   made such a holding. To the contrary, “this” Court has repeatedly declined defendants’ invitations

   to strike class allegations at the pleading stage. See, e.g., Lankford, 2013 WL 12064497, at *6;

   Brashevitzky v. Covanta Dade Renewable Energy, LLC, No. 23-20861-Civ, 2024 WL 21589, at

   *3 (S.D. Fla. Jan. 2, 2024). As in these other cases, the Court finds Defendant’s request premature;




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   Plaintiff has yet to engage in discovery, assess the viability of his proposed class definition, or

   even determine whether to pursue class certification at all.

          For the foregoing reasons, it is

          ORDERED AND ADJUDGED that Defendant, Motorsport.tv Digital, LLC’s Motion to

   Dismiss [or, Alternatively,] to Strike Class Allegations [ECF No. 12] is DENIED.

          DONE AND ORDERED in Miami, Florida, this 19th day of February, 2025.



                                                   _______________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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